
In re Guidry, Exalton Jr.; — Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Vermilion, 15th Judicial District Court Div. G, No. 34,859; to the Court of Appeal, Third Circuit, No. CW 07-01083.
*1000Writ granted in part; otherwise denied. The Vermillion Parish District Attorney’s Office and Abbeville Police Department are ordered to provide relator with an estimate of the costs of reproducing public records relator has requested and to which relator is entitled. La. Const. art. XII, Section 3; R.S. 44:31; R.S. 44:31.1; State ex rel. Leonard v. State, 96-1889 (La.6/13/97), 695 So.2d 1325; State ex rel. Level v. State, 99-2266 (La.12/17/99), 751 So.2d 869; Range v. Moreau, 96-1607 (La.9/3/96), 678 So.2d 537. In all other respects, the application is denied.
